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                            United States District Court for the Southern District of Iowa

Presiding: Honorable Stephanie M. Rose
Criminal No. 4:20-cr-00103-001                            : Clerk’s Court Minutes – Sentencing
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UNITED STATES OF AMERICA VS. RYAN DON ANDREW FORD
_______________________________________________________________________________________________________________________________________

Gov. Atty(s): Adam J. Kerndt                              : ✔ Indictment              Superseding Indictment                              Information
Def. Atty(s): Paul Statler                                : In 4 Count(s) – Code Violation:
Court Reporter: Kelli Mulcahy                             : SEXUAL EXPLOITATION OF CHILDREN 18:2251(a), 2251(e) Production of Child Pornography (1)
Interpreter: N/A                                          : SEXUAL EXPLOITATION OF CHILDREN 18:2251(a), 2251(e) Production of Child Pornography (2)
___________________________________________________________   ACTIVITIES RE MATERIAL CONSTITUTING/CONTAINING CHILD PORNO 18:2252A(a)(2), 2252A(b)(1) Receipt of Child
                                                              Pornography (3)

Date: April 12, 2021                                      :   ACTIVITIES RE MATERIAL CONSTITUTING/CONTAINING CHILD PORNO 18:2252A(a)(5)(B), 2252A(b)(2) Possession of

Time Start: 9:33 am Time End: 10:10 am                    :   Child Pornography (4)

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✔ Defendant reaffirmed guilty plea to Count(s) 1 and 3.                                    : ✔ Court adopted findings of Final PSR
    Jury           Court guilty verdict to Count(s)                                        :   Final PSR as amended
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Minutes:
Defendant present with counsel for sentencing. Defendant satisfied with counsel. Defendant advised of
maximum penalties and informed of PSR. Parties discuss PSR. Total Offense Level = 43; Criminal History
Category = I; Guideline Imprisonment Range = 600 months. 9:41 A victim impact statement is read to the
Court. Parties argue appropriate sentence. Defendant allocutes. Court pronounces sentence. Defendant is
advised of appeal rights.




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Sentence Imposed:
Defendant is sentenced to the custody of the BOP for a term of 324 months, consisting of 324 months as to
Count One and 240 months as to Count Three, to be served concurrently. A 10 year term of supervised release
to follow as to each of Counts One and Three, to be served concurrently. Court recommends placement at FCI
Pekin. $200 Special Assessment ($100 per count).

Counts 2 and 4 are Dismissed upon Motion of the United States. Defendant is remanded to the custody of the
United States Marshal.



                                                                                                   /s./ K. Chrismer
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                                                                                                   Deputy Clerk
